 Case 23-11171-djb                 Doc         Filed 02/07/25 Entered 02/07/25 17:04:01                                   Desc Main
                                                Document     Page 1 of 8

     Fill in this information to identify the case:

     Debtor 1 FLEMUEL BROWN, III
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Eastern District of Pennsylvania
     Case number 23-11171-amc




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Firstrust Bank                                               Court claim no. (if known): 13
  Last four digits of any number you           6989                             Date of payment change:                     03/01/2025
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $1,395.32
                                                                                Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 1,058.37           New escrow payment:          $ 653.30



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %               New interest rate:                                %

                Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:


                Current mortgage payment: $                        New mortgage payment: $




Official Form 410S1                            Notice of Mortgage Payment Change                                                page 1
 Case 23-11171-djb                    Doc         Filed 02/07/25 Entered 02/07/25 17:04:01                   Desc Main
                                                   Document     Page 2 of 8

   Debtor1   FLEMUEL BROWN, III                                      Case number (if known) 23-11171-amc
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Andrew Spivack
       Signature
                                                                                    Date 02/07/2025



   Print: Andrew Spivack (84439)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




Official Form 410S1                               Notice of Mortgage Payment Change                                 page 2
 Case 23-11171-djb             Doc       Filed 02/07/25 Entered 02/07/25 17:04:01                      Desc Main
                                          Document     Page 3 of 8
                                                        L.B.F. 9014-4

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                             Philadelphia Division


 IN RE:
 FLEMUEL BROWN, III                                                 Case No. 23-11171-amc
                                                                    Chapter 13
 Firstrust Bank,
            Movant

 vs.

 FLEMUEL BROWN, III ,
        Debtor




                                              CERTIFICATE OF SERVICE

          I, the undersigned, certify that on February 7, 2025, I did cause a true and correct copy of the documents described
below to be served on the parties listed on the mailing list exhibit, a copy of which is attached and incorporated as if fully
set forth herein, by the means indicated and to all parties registered with the Clerk to receive electronic notice via the
CM/ECF system:

          Notice of Mortgage Payment Change


         I certify under penalty of perjury that the above document was sent using the mode of
service indicated.


Date: February 7, 2025
                                                       /s/Andrew Spivack
                                                       Andrew Spivack, PA Bar No. 84439
                                                       Matthew Fissel, PA Bar No. 314567
                                                       Mario Hanyon, PA Bar No. 203993
                                                       Ryan Starks, PA Bar No. 330002
                                                       Jay Jones, PA Bar No. 86657
                                                       Ryan Srnik, PA Bar No. 334854
                                                       Attorney for Creditor
                                                       BROCK & SCOTT, PLLC
                                                       3825 Forrestgate Drive
                                                       Winston Salem, NC 27103
                                                       Telephone: (844) 856-6646
                                                       Facsimile: (704) 369-0760
                                                       E-Mail: PABKR@brockandscott.com

______________________________________________________________________________

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next page if necessary.)

BRAD J SADEK, Debtor's Attorney
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102
 Case 23-11171-djb           Doc      Filed 02/07/25 Entered 02/07/25 17:04:01   Desc Main
                                       Document     Page 4 of 8
brad@sadeklaw.com
Debtor's Attorney
Via:    ☒ CM/ECF       ☐ 1st Class Mail    ☐ Certified Mail   ☐ e-mail:
         ☐ Other:

KENNETH E WEST,
190 N. Independence Mall West
Suite 701
Philadelphia, PA 19106
Bankruptcy Trustee
Via:    ☒ CM/ECF       ☐ 1st Class Mail    ☐ Certified Mail   ☐ e-mail:
          ☐ Other:

Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street Suite 320
Philadelphia, PA 19107
US Trustee
Via:    ☒ CM/ECF        ☐ 1st Class Mail   ☐ Certified Mail   ☐ e-mail:
          ☐ Other:

FLEMUEL BROWN, III
1702 N. 62ND STREET
PHILADELPHIA, PA 19151
Debtor
Via:   ☐ CM/ECF    ☒ 1st Class Mail        ☐ Certified Mail   ☐ e-mail:
         ☐ Other:
Case 23-11171-djb   Doc   Filed 02/07/25 Entered 02/07/25 17:04:01   Desc Main
                           Document     Page 5 of 8
Case 23-11171-djb   Doc   Filed 02/07/25 Entered 02/07/25 17:04:01   Desc Main
                           Document     Page 6 of 8
Case 23-11171-djb   Doc   Filed 02/07/25 Entered 02/07/25 17:04:01   Desc Main
                           Document     Page 7 of 8
Case 23-11171-djb   Doc   Filed 02/07/25 Entered 02/07/25 17:04:01   Desc Main
                           Document     Page 8 of 8
